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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)
  Robert J. Feinstein
  Bradford J. Sandler
  Paul J. Labov
  Cia Mackle
  PACHULSKI STANG ZIEHL & JONES
  LLP
  780 Third Avenue, 34th Floor
  New York, NY 10017
  Telephone: (212) 561-7700
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  bsandler@pszjlaw.com
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  cmckle@pszjlaw.com

  Counsel to the Official Committee of
  Unsecured Creditors


  In re:                                                                       Chapter 11

  CYXTERA TECHNOLOGIES, INC., et al.,1                                         Case No: 23-14853 (JKS)

                                    Debtor.                                    (Jointly Administered)

                                                                               Objection Deadline: February 8, 2024


 SIXTH MONTHLY FEE STATEMENT OF ALVAREZ & MARSAL NORTH AMERICA,
               LLC, FOR PAYMENT OF COMPENSATION AND
       REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR TO THE
            OFFICIAL COMMITTEE OF UNSECURED CREDITORS
   FOR THE PERIOD FROM DECEMBER 1, 2023, THROUGH DECEMBER 31, 2023

              Alvarez & Marsal North America, LLC (“A&M”), financial advisor to the Official

Committee of Unsecured Creditors (the “Committee”) appointed in the above-captioned jointly

administered chapter 11 cases of Cyxtera Technologies, Inc., et al. (the “Debtors”), hereby submits


    1.     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing
           agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera Technologies, Inc.’s principal place of business and the
           Debtors’ service address in these chapter 11 cases is: 2333 Ponce de Leon Boulevard, Ste. 900, Coral Gables, Florida 33134 .
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its sixth monthly fee statement (the “Statement”) pursuant to sections 330 and 331 of Title 11 of

the United States Code, Rule 2016 of the Federal Rules of Bankruptcy Procedure, D.N.J. LBR

2016-1, and the Administrative Fee Order Establishing Procedures for the Allowance and Payment

of Interim Compensation and Reimbursement of Expenses of Professionals Retained by Order of

This Court entered on July 21, 2023 [Docket No. 305] (the “Administrative Fee Order”). Pursuant

to the Administrative Fee Order, responses to this Statement, if any, are due by February 8, 2024.



Dated: January 25, 2024                         ALVAREZ & MARSAL NORTH
                                                AMERICA, LLC

                                                By: /s/ Richard Newman
                                                Richard Newman
                                                540 W. Madison St., Suite 1800
                                                Chicago, IL 60611
                                                Telephone: (469) 231-6780
                                                rnewman@alvarezandmarsal.com

                                                Financial Advisor to the Official Committee of
                                                Unsecured Creditors
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                                          UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF NEW JERSEY

                                              FEE STATEMENT COVER SHEET



     Debtor: Cyxtera Technologies, Inc., et al.1                            Applicant: Alvarez & Marsal North America,
                                                                            LLC (“A&M”)
     Case No: 23-14853 (JKS)                                                Client: Official Committee of Unsecured
                                                                            Creditors
     Chapter: 11                                                            Case Filed: June 04, 2023


                                                               SECTION I
                                                             FEE SUMMARY

                                  Summary of the Amounts Requested for the Period from
                              December 1, 2023, through December 31, 2023 (the “Fee Period”)


     Fee Total:                                                                                                                   $5,140.00
     Less: 20% Holdback                                                                                                           (1,028.00)
     Plus: 100% Expenses                                                                                                               4.12
     Total Sought at this Time                                                                                                    $4,116.12

                                   Summary of Amounts Requested for Previous Periods

                                                                                                 FEES      EXPENSES
      Total Previous Fees Requested:                                                         $1,900,494.00       $372.97
      Total Fees Allowed To Date:                                                            $1,520,395.20       $372.97
      Total Retainer (If Applicable):                                                                 N/A           N/A
      Total Holdback:                                                                          $380,098.80         $0.00
      Total Amount Received By Applicant:                                                    $1,520,395.20       $372.97




________________
1. A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing agent at
https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera Technologies, Inc.’s principal place of business and the Debtors’ service address in
these chapter 11 cases is: 2333 Ponce de Leon Boulevard, Ste. 900, Coral Gables, Florida 33134 .
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                              SECTION I (CONTINUED)
                                 FEE SUMMARY


Professional         Position             Billing Rate    Hours               Fees
Newman, Richard      Managing Director    $       1,200           0.9    $      1,0800.00
Waschitz, Seth       Senior Director                950           1.3            1,235.00
Domfeh, Kofi         Director                       850           0.4              340.00
Hill, Michael        Associate                      575           2.4            1,380.00
Rovitz, Alec         Analyst                        425           2.6            1,105.00
                                                                   7.6   $       5,140.00
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                                         SECTION II
                                     SUMMARY OF SERVICES

  Project Category                                          Hours                Fees
  Cash Budget                                                       2.1   $             1,630.00
  Claims / Liabilities Subject to Compromise                        1.4                   930.00
  Fee Application                                                   4.0                 2,460.00
  Financial & Operational Matters                                   0.1                   120.00
                                                   Total            7.6   $             5,140.00




                                      SECTION III
                                SUMMARY OF DISBURSEMENTS

 Expense Type                                                                     Amount
 Miscellaneous                                                                            $4.12
 Lodging                                                                                   0.00
 Meals                                                                                     0.00
 Airfare                                                                                   0.00
 Transportation                                                                            0.00
 Total                                                                                    $4.12
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                                            SECTION IV
                                           CASE HISTORY

 (1)     Date cases filed:                               June 04, 2023

(2)      Chapter under which cases commenced:            Chapter 11

(3)      Date of Retention:                              August 25, 2023


(4)      Summarize in brief the benefits to the estate and attach supplements as needed:

       (a)     A&M analyzed the Debtors’ weekly cash budgets and budget-to-actual cash
               variances, and prepared cash flow presentations for the Committee
       (b)     A&M reviewed and summarized historical financial and operating data, including
               documentation posted to the Debtors’ virtual data room
       (c)     A&M prepared and maintained due diligence request lists to monitor documents
               requested and received
       (d)     A&M reviewed numerous motions and orders to ensure the authority sought by the
               Debtors was reasonable
       (e)     A&M monitored the sale process and corresponded with the Debtors’ professionals
               regarding the status of asset sales and lease sales / terminations
       (f)     A&M conducted research pertaining to potential avoidance actions / sources of value for
               unsecured creditors
       (g)     A&M regularly participated in calls with the Committee, Committee counsel, and the
               Debtors’ professionals
       (h)     A&M analyzed general unsecured claims
       (i)     A&M prepared an analysis of the Debtors’ business plan and presented it to the committee
       (j)     To the extent not addressed by the foregoing descriptions, A&M performed other
               services on behalf of the Committee that were necessary and appropriate during these
               chapter 11 cases

 In support of this Statement, the following exhibits are annexed hereto:


       Exhibit A – Retention Order
       Exhibit B – A&M’s itemized daily time records
       Exhibit C – A&M’s itemized daily expense records


  I certify under penalty of perjury that the foregoing is true and correct.

 Dated: January 25, 2024                              /s/ Richard Newman
                                                          Richard Newman
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                                 EXHIBIT A
                    ALVAREZ & MARSAL NORTH AMERICA, LLC
                             RETENTION ORDER
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
 Robert J. Feinstein
                                                                                    Order Filed on August 25, 2023
 Bradford J. Sandler                                                                by Clerk
 Paul J. Labov                                                                      U.S. Bankruptcy Court
 Colin R. Robinson                                                                  District of New Jersey
 PACHULSKI STANG ZIEHL & JONES LLP
 780 Third Avenue, 34th Floor
 New York, NY 10017
 Telephone: (212) 561-7700
 Facsimile: (212) 561-7777
 rfeinstein@pszjlaw.com
 bsandler@pszjlaw.com
 plabov@pszjlaw.com
 crobinson@pszjlaw.com

Proposed Counsel for the Official Committee of
Unsecured Creditors
    In re:                                                     Chapter 11

    CYXTERA TECHNOLOGIES, INC., et al.,1                       Case No. 23-14853 (JKS)
                                                               (Jointly Administered)
                                      Debtors.



       ORDER AUTHORIZING EMPLOYMENT AND RETENTION OF ALVAREZ &
      MARSAL NORTH AMERICA, LLC AS FINANCIAL ADVISOR TO THE OFFICIAL
       COMMITTEE OF UNSECURED CREDITORS OF THE DEBTORS, CYXTERA
           TECHNOLOGIES, INC., ET AL., EFFECTIVE AS OF JUNE 27, 2023
The relief set forth on the following pages, numbered two (2) through six (6), is hereby ORDERED.




         DATED: August 25, 2023




1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera
      Technologies, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is: 2333
      Ponce de Leon Boulevard, Ste. 900, Coral Gables, Florida 3313          4.

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            Upon the application (the “Application”) 2 of the Official Committee of Unsecured

 Creditors (the “Committee”) appointed in the chapter 11 cases of the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), for entry of an order pursuant to sections 328,

 and 1103 of title 11 of the United States Code (the “Bankruptcy Code”), authorizing the

employment and retention of Alvarez & Marsal North America, LLC together with employees of

its affiliates (all of which are wholly-owned by its parent company and employees), its wholly

owned subsidiaries, and independent contractors (collectively, “A&M”), as financial advisor to

 the Committee, effective as of June 27, 2023, and upon the Newman Declaration; and due and

 adequate notice of the Application having been given; and it appearing that no other notice need

 be given; and it appearing that A&M does not represent any adverse interest in connection with

 these cases; and it appearing that the relief requested in the Application is in the best interest of the

 Committee; it is hereby

            ORDERED that:

            1.       The Application is approved as set forth therein.

            2.       In accordance with Bankruptcy Code sections 328 and 1103, the Committee is

authorized to employ and retain A&M effective as of June 27, 2023, as its financial advisor on the

terms set forth in the Application without the need for any further action on the part of A&M or

the Committee to document such retention.

            3.       The terms of A&M’s engagement, as set forth in the Application, including, without

limitation, the compensation provisions and the indemnification provisions, are reasonable terms

and conditions of employment and are hereby approved. However, the Debtors’ obligations to




 2
     Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Application.

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indemnify A&M pursuant to the indemnification provisions included in the Application are subject

to the following:

                  (a)        all requests by A&M for the payment of indemnification as set forth in this

Order shall be made by means of an application to the Court and shall be subject to review by the

Court to ensure that payment of such indemnity conforms to the terms of the Application and this

Order and is reasonable under the circumstances of the litigation or settlement in respect of which

indemnity is sought; provided, however, that in no event shall A&M be indemnified if the Debtors

or a representative of the estate, asserts a claim for, and a court determines by final order (which

final order is no longer subject to appeal) that such claim arose out of A&M’s own bad faith, self-

dealing, breach of fiduciary duty, fraud, gross negligence or willful misconduct; and

                  (b)        in no event shall A&M be indemnified for any claim that either (i) a court

determines by final order (which final order is no longer subject to appeal) that such claim arose

out of A&M’s own bad faith, self-dealing, breach of fiduciary duty (if any), fraud, gross

negligence, or willful misconduct; (ii) for a contractual dispute in which the Debtors allege the

breach of an indemnified party’s contractual obligations if the Court determines that

indemnification, contribution or reimbursement would not be permissible pursuant to In re United

Artists Theatre Company, 315 F.3d 217 (3d Cir. 2003); or (iii) the claim is settled prior to a judicial

determination as to clauses (i) or (ii), but is determined by this Court, after notice and a hearing

pursuant to terms of the Application and this Order, to be a claim or expense for which A&M is

not entitled to receive indemnity under the terms of the Application and this Order; and

                  (c)        in the event A&M seeks reimbursement from the Debtors for attorneys’ fees

and expenses in connection with the payment of an indemnity claim pursuant to this Order, the

invoices and supporting time records from such attorneys shall be included in A&M’s own


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applications, both interim and final, and such invoices and time records shall be subject to the

United States Trustee’s Guidelines for compensation and reimbursement of expenses and the

approval of the Court pursuant to sections 330 and 331 of the Bankruptcy Code without regard to

whether such attorneys have been retained under section 327 of the Bankruptcy Code and without

regard to whether such attorneys’ services satisfy section 330(a)(3)(C) of the Bankruptcy Code.

           4.     All parties-in-interest shall retain the right to object to (1) any demand by the

indemnified parties for indemnification, contribution, or reimbursement; and (2) any request for

reimbursement of legal fees of A&M’s independent legal counsel.

           5.     A&M shall file applications for interim and final allowance of compensation and

reimbursement of expenses pursuant to the procedures set forth in Bankruptcy Code sections 330

and 331, such Bankruptcy Rules as may then be applicable, the Local Bankruptcy Rules, the

Guidelines, and the Court’s Interim Compensation Order and any amendments or modifications

thereto.

           6.     A&M will keep its time records in tenth-of-an-hour increments in accordance with

Local Rule 2016-1 of this Court and shall otherwise comply with the requirements of that Local

Rule, as well as Bankruptcy Rule 2016(a), and the United States Trustee Fee Guidelines.

           7.     A&M will only bill 50% for non-working travel.

           8.     Notwithstanding any other provision in this Order, the U.S. Trustee shall have the

right to object to A&M’s request(s) for interim and final compensation and reimbursement based

on the reasonableness standard provided in section 330 of the Bankruptcy Code rather than section

328(a) of the Bankruptcy Code. This Order and the record relating to the Court’s consideration of

the Application shall not prejudice or otherwise affect the rights of the U.S. Trustee to challenge

the reasonableness of A&M’s fees under the standard set forth in the preceding sentence.


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Accordingly, nothing in this Order or the record shall constitute a finding of fact or conclusion of

law binding on the U.S. Trustee, on appeal or otherwise, with respect to the reasonableness of

A&M’s fees.

         9.       Notwithstanding anything in the Application to the contrary and for the avoidance

of doubt, A&M will not be entitled to recover attorneys’ fees or expenses for defending its fee

applications in these Chapter 11 Cases.

         10.      The Committee will coordinate with A&M and its other retained professionals to

minimize unnecessary duplication of the services provided by any of its retained professionals.

         11.      Prior to charging any increases in its hourly rates, A&M shall provide ten (10)

business days’ notice of any such increases to the Debtors, the U.S. Trustee, and the Committee,

and shall file such notice with the Court. The U.S. Trustee retains all rights to object to any rate

increase on all grounds, including the reasonableness standard set forth in section 330 of the

Bankruptcy Code, and the Court retains the right to review any rate increase pursuant to section

330 of the Bankruptcy Code

         12.      To the extent that there may be any inconsistency between the terms of the

Application and this Order, the terms of this Order shall govern.

         13.      The Committee and A&M are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.

         14.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         15.      Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Bankruptcy Rules and the Local

Bankruptcy Rules are satisfied by the Application.


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         16.      This Court shall retain jurisdiction with respect to all matters arising or related to

the implementation of this Order and A&M’s services for the Committee.




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                               EXHIBIT B
                      ITEMIZED DAILY TIME RECORDS
      FOR THE PERIOD OF DECEMBER 1, 2023, THROUGH DECEMBER 31, 2023
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                                                          CYXTERA TECHNOLOGIES, INC., et al.
                                                  Time Detail by Project Category December 1, 2023 through December 31, 2023

Professional           Date        Hours     Time Description


Cash Budget
Newman, Richard      12/7/2023       0.1     Prepare questions for Debtors' professionals re: cash flow budget

Newman, Richard      12/8/2023       0.1     Review cash flow budget re: budget to actuals

Newman, Richard      12/8/2023       0.1     Correspond with UCC counsel re: cash flow budget

Domfeh, Kofi         12/8/2023       0.2     Participate in call with Debtors' professionals and A&M team (Hill) re: cash flow budget variance report

Hill, Michael        12/8/2023       0.2     Participate in call with Debtors' professionals and A&M team (Domfeh) re: cash flow budget variance report

Hill, Michael        12/8/2023       0.4     Analyze updated cash flow budget re: budget to actuals

Hill, Michael        12/8/2023       0.2     Correspond with A&M team re: cash flow budget questions

Newman, Richard      12/21/2023      0.1     Review cash flow budget re: budget to actuals

Hill, Michael        12/21/2023      0.4     Analyze updated cash flow budget re: variance report

Domfeh, Kofi         12/22/2023      0.1     Participate on call with A&M team (Newman) re: cash flow budget variance report

Newman, Richard      12/22/2023      0.1     Participate on call with A&M team (Domfeh) re: cash flow budget variance report

Domfeh, Kofi         12/22/2023      0.1     Participate on call with Debtors' professionals re: updated cash flow budget variance report

Subtotal                             2.1


Claims / Liabilities Subject to Compromise
Newman, Richard      12/4/2023       0.1     Correspondence with A&M team re: claims analysis

Hill, Michael        12/4/2023       1.2     Update claims analysis re: priority unsecured claims

Newman, Richard      12/16/2023      0.1     Review motion to reject contracts

Subtotal                             1.4



Fee Application
Rovitz, Alec         12/18/2023      0.7     Prepare November fee application

Rovitz, Alec         12/20/2023      1.9     Prepare first interim fee application

Waschitz, Seth       12/21/2023      1.3     Review and edit first interim fee application

Newman, Richard      12/21/2023      0.1     Review and comment on November fee application

Subtotal                             4.0


Financial & Operational Matters

Newman, Richard      12/22/2023      0.1     Correspond with UCC counsel re: closing date
Subtotal                             0.1




Grand Total                          7.6




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                                EXHIBIT C
                         ITEMIZED EXPENSE DETAIL
       FOR THE PERIOD OF DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023
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                                                                         Exhibit C
                         CYXTERA TECHNOLOGIES, INC., et al.
                              Expense Summary by Category
                        December 1, 2023 through December 31, 2023


     Expense Category                                                      Total

     Miscellaneous                                                   $             4.12

                                                           Total     $             4.12
